                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   CASE NO. 1:21-MC-6-UA-LPA


In re Application of KARAM         )
SALAH AL DIN AWNI AL               )
SADEQ and STOKOE                   )
PARTNERSHIP SOLICITORS             )
                                          NOTICE OF APPEARANCE
for an Order Under § 1782 to       )
Conduct Discovery for Use in       )
Foreign Proceedings.               )


      PLEASE TAKE NOTICE that Jeffrey M. Kelly, counsel for Respondents

Nicholas del Rosso and Vital Management Services, Inc. (“Respondents”) in the

above captioned matter, hereby gives notice of his appearance on behalf of the

Respondents, and requests that all notices and pleadings in this case be served

on:

                  Jeffrey M. Kelly
                  Nelson Mullins Riley & Scarborough, LLP
                  4140 Parklake Avenue
                  Second Floor
                  Raleigh, North Carolina, 27612
                  Telephone: (919) 329-3800
                  Facsimile: (919) 329-3799
                  jeff.kelly@nelsonmullins.com




      Case 1:21-mc-00006-UA-LPA Document 11 Filed 11/04/21 Page 1 of 3
This the 4th day of November, 2021.

                             NELSON MULLINS RILEY &
                                 SCARBOROUGH, LLP

                       By:     /s/ Jeffrey M. Kelly           _
                             Kieran J. Shanahan, NCSB# 13329
                             Brandon S. Neuman, NCSB# 33590
                             Jeffrey M. Kelly, NCSB# 47269
                             Nathaniel J. Pencook,NCSB#52339
                             Glenlake One
                             4140 Parklake Avenue, Suite 200
                             Raleigh, North Carolina, 27612
                             Telephone: (919) 329-3800
                              Facsimile: (919) 329-3799
                             kieran.shanahan@nelsonmullins.com
                             brandon.neuman@nelsonmullins.com
                             jeff.kelly@nelsonmullins.com
                             nate.pencook@nelsonmullins.com
                             Counsel for Respondents Nicholas del
                             Rosso and Vital Management Services,
                             Inc.




                               2


Case 1:21-mc-00006-UA-LPA Document 11 Filed 11/04/21 Page 2 of 3
                       CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of November, 2021, I electronically
filed the foregoing Notice of Appearance with the Clerk of the Court using
the CM/ECF system, which will send electronic notification of filing to the
following:

                        Mark W. Merritt
                        Robinson, Bradshaw & Hinson, P.A.
                        101 N. Tryon St., Suite 1900
                        Charlotte, NC 28246
                        mmerritt@robinsonbradshaw.com

                                     NELSON MULLINS RILEY &
                                         SCARBOROUGH, LLP

                               By:     /s/ Jeffrey M. Kelly            _
                                     Kieran J. Shanahan, NCSB# 13329
                                     Brandon S. Neuman, NCSB# 33590
                                     Jeffrey M. Kelly, NCSB# 47269
                                     Nathaniel J. Pencook,NCSB#52339
                                     Glenlake One
                                     4140 Parklake Avenue, Suite 200
                                     Raleigh, North Carolina, 27612
                                     Telephone: (919) 329-3800
                                     Facsimile: (919) 329-3799
                                     kieran.shanahan@nelsonmullins.com
                                     brandon.neuman@nelsonmullins.com
                                     jeff.kelly@nelsonmullins.com
                                     nate.pencook@nelsonmullins.com
                                     Counsel for Respondents Nicholas del
                                     Rosso and Vital Management Services,
                                     Inc.




                                       3


      Case 1:21-mc-00006-UA-LPA Document 11 Filed 11/04/21 Page 3 of 3
